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                           IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF FLORIDA
                                       Tampa Division

 DUSTY LEITZKE,
 on behalf of herself and all others
 similarly situated,

                   Plaintiff,                           Case No. 8:19-cv-02174-VMC-AEP

 v.

 JPMORGAN CHASE BANK, N.A.,

             Defendant.
 _______________________________________/

    MOTION TO DISMISS, OR IN THE ALTERNATIVE TO STAY, AND COMPEL
  ARBITRATION IN ACCORDANCE WITH BINDING ARBITRATION AGREEMENTS

          Defendant JPMorgan Chase Bank, N.A. (“Chase”), pursuant to the Federal Arbitration

 Act (“FAA”), 9 U.S.C. § 1 et seq., hereby moves this Court to dismiss this action and order the

 parties to arbitration because the named Plaintiff Dusty Leitzke is bound by an arbitration

 agreement. Alternatively, should this action not be dismissed, Chase requests that this Court

 compel individual arbitration of the claims of Plaintiff Leitzke and five of the six opt-in plaintiffs

 with arbitration agreements, and stay their claims.

 I.       INTRODUCTION

          Plaintiff Dusty Leitzke, a FCOI Investigator at Chase, initiated this case on behalf of

 herself and those allegedly similarly situated seeking overtime under the Fair Labor Standards

 Act (“FLSA”). Compl. ¶¶ 2-7. Six individuals have subsequently filed consent forms indicating

 their intent to opt-in to this action if certified: Cheryl Gordon, Duane Hudson, Colette Maxwell,

 Eram Rashedi, Rebecca Massicotte and Ophelia Hawkins. See ECF Nos. 5, 9, 12. Plaintiff and

 five out of the six opt-ins (all but Ophelia Hawkins) signed Binding Arbitration Agreements

 (“BAAs”) which require them to submit their FLSA claims to arbitration. See Declaration of
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 DeJuan Taylor (“Taylor Decl.”) ¶¶ 4-9, attached hereto as Exhibit A, Exhibits 1-6, BAA

 Sections 1-2. In addition, all of the signed BAAs contain collective action waivers which

 require all claims to be submitted on an individual basis and waive any right to bring or

 participate in a collective action. Id., BAA Section 4.

          Rather than submit to arbitration, Plaintiff has filed this putative collective litigation.

 There can be no dispute, however, that Plaintiff’s BAA is enforceable and plainly requires that

 her FLSA overtime claim be submitted to arbitration and pursued on an individual basis.

 Accordingly, because the one and only named Plaintiff executed a BAA, the proper remedy is

 for this Court to dismiss this action and compel individual arbitration pursuant to section 4 of the

 FAA, which provides, in pertinent part, that:

          A party aggrieved by the alleged failure, neglect, or refusal of another to arbitrate
          under a written agreement for arbitration may petition any United States district
          court . . . for an order directing that such arbitration proceed in the manner
          provided for in such agreement . . . . [U]pon being satisfied that the making of the
          agreement for arbitration or the failure to comply therewith is not in issue, the
          court shall make an order directing the parties to proceed to arbitration in
          accordance with the terms of the agreement.

 9 U.S.C. § 4 (emphasis added).

          For these reasons, as discussed more fully below, Defendant respectfully moves this

 Court for an order dismissing this action in its entirety, or in the alternative staying the claims of

 Leitzke and the five opt-ins with arbitration agreements, and compelling individual arbitration of

 Leitzke, Gordon, Hudson, Maxwell, Rashedi and Massicotte’s claims for overtime under the

 FLSA. See, e.g., Perera v. H&R Block E. Enters., Inc., 914 F. Supp. 2d 1284, 1290 (S.D. Fla.

 2012) (“The weight of authority clearly supports dismissal of the case when all of the issues

 raised in the district court must be submitted to arbitration.”) (quotations and citation omitted).




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 II.      FACTUAL BACKGROUND

          Plaintiff Dusty Leitzke and the opt-ins are all current employees of JPMorgan Chase

 Bank, N.A. who work in Tampa, Florida. Taylor Decl. ¶ 10. Plaintiff Leitzke and opt-ins

 Gordon, Hudson, Maxwell, Rashedi and Massicotte signed BAAs when they commenced

 employment, which require them to submit all “Covered Claims” to final and binding arbitration.

 Taylor Decl. ¶ ¶¶ 4-9, Exhibits 1-6, BAA Sections 1-2. “Covered Claims”, include “all legally

 protected employment-related claims . . . including, but not limited to . . . violations of . . . the

 Fair Labor Standards Act of 1938. . . .” Id.

          Additionally, Section 4 of the BAA is a Class Action/Collective Action Waiver, which

 states, inter alia, that “[a]ll Covered Claims under this Agreement must be submitted on an

 individual basis. No claims may be arbitrated on a class or collective basis unless required by

 applicable law. Covered Parties expressly waive any right with respect to any Covered Claim to

 submit, initiate or participate in a representative capacity or as a plaintiff, claimant or member in

 a class action, collective action, or other representative or joint action, regardless of whether the

 action is filed in arbitration or in court.” Taylor Decl. ¶¶ 4-9, Exhibits 1-6, BAA Section 4.

          The BAAs also have a forum selection clause which provides: “I understand that

 arbitration under this Agreement will occur in the state where I am currently or was most

 recently employed by the Firm, unless otherwise agreed by the Parties.” Taylor Decl. ¶¶ 4-9,

 Exhibits 1-6, BAA, Section 6.

 III.     STANDARD OF REVIEW

          “When presented with a motion to compel arbitration, a district court considers three

 factors: (1) whether a valid agreement to arbitrate exists; (2) whether an arbitrable issue exists;

 and (3) whether the right to arbitrate was waived.” Spinelli v. Dascor Corp., No. 19-60857, 2019

 WL 3425080, at *2 (S.D. Fla. July 30, 2019); Nat’l Auto Lenders, Inc. v. SysLOCATE, Inc., 686

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 F. Supp. 2d 1318, 1322 (S.D. Fla. 2010), aff’d, 433 F. App’x 842 (11th Cir. 2011) (same); see

 also Seifert v. U.S. Home Corp., 750 So. 2d 633, 636 (Fla. 1999) (“Under both federal statutory

 provisions and Florida's arbitration code, there are three elements for courts to consider in ruling

 on a motion to compel arbitration of a given dispute: (1) whether a valid written agreement to

 arbitrate exists; (2) whether an arbitrable issue exists; and (3) whether the right to arbitration was

 waived.”). However, the “party resisting arbitration bears the burden of proving that the claims

 at issue are unsuitable for arbitration.” Green Tree Fin. Corp.-Ala. v. Randolph, 531 U.S. 79, 91

 (2000) (citations omitted); see also Inetianbor v. CashCall, Inc., 923 F. Supp. 2d 1358, 1362

 (S.D. Fla. 2013).

          As the U.S. Supreme Court has repeatedly explained, the FAA reflects “a liberal federal

 policy favoring arbitration” and requires courts to enforce arbitration agreements according to

 their terms. AT&T Mobility LLC v. Concepcion, 563 U.S. 333, 346 (2011) (quotations and

 citations omitted); see also Epic Sys. Corp. v. Lewis, 138 S. Ct. 1612, 1619 (2018); Dean Witter

 Reynolds, Inc. v. Byrd, 470 U.S. 213, 218 (1985). Moreover, the FAA “establishes that, as a

 matter of federal law, any doubts concerning the scope of arbitrable issues should be

 resolved in favor of arbitration . . . .” Moses H. Cone Mem’l Hosp. v. Mercury Constr. Corp.,

 460 U.S. 1, 24-25 (1983) (emphasis added); see also Mitsubishi Motors Corp. v. Soler Chrysler-

 Plymouth, Inc., 473 U.S. 614, 626 (1985); USWA v. Warrior & Gulf Navigation Co., 363 U.S.

 574, 582-83 (1960) (an arbitration agreement is presumed enforceable “unless it may be said

 with positive assurance that the arbitration clause is not susceptible of an interpretation that

 covers the asserted dispute”) (emphasis added).

          Here, it is clear the Plaintiff, as well as five of the opt-ins, entered into binding arbitration

 agreements covering their claims, and that the Court should compel arbitration. See John B.



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 Goodman Ltd. P’ship v. THF Constr., Inc., 321 F.3d 1094, 1095 (11th Cir. 2003) (“Under the

 FAA, 9 U.S.C. § 1 et seq., a district court must grant a motion to compel arbitration if it is

 satisfied that the parties actually agreed to arbitrate the dispute.”).

 IV.      ARGUMENT

          A.       The Parties Clearly Agreed To Arbitrate.

          Whether the parties formed a contractual agreement to arbitrate is determined by state

 contract law. See, e.g., First Options of Chicago, Inc. v. Kaplan, 514 U.S. 938, 944 (1995)

 (noting that state law governs determination of whether parties agreed to arbitrate). Plaintiff

 Leitzke and Opt-ins Hudson, Rashedi, Maxwell, and Massicotte all received their employment

 offers and BAAs to execute at their home addresses in Florida, while opt-in Gordon received the

 offer and BAA at her home address in New Jersey, but for a job with Chase in Tampa, Florida.

 Taylor Decl. ¶¶ 4-9 and Exhibits 1- 6.

          As part of their acceptances of the offers of employments, Plaintiff Leitzke and these

 opt-ins signed the BAAs and agreed that the BAAs were part of the terms of employment they

 were accepting. Taylor Decl. ¶¶ 4-9 and Exhibits 1-6. Under Florida law, this formed a valid

 agreement to arbitrate, as the offer of employment provided consideration for the arbitration

 agreement. See, e.g., KWEST Commc’ns, Inc. v. United Cellular Wireless Inc., No. 16-20242,

 2016 WL 10859787, at *5 (S.D. Fla. Apr. 7, 2016) (arbitration clause in employment agreement

 enforceable under Florida and federal law), report & recommendation adopted, 2016 WL

 10870449 (S.D. Fla. June 28, 2016); Ayure v. Braman Motors, Inc., No. 14-20399, 2014 WL

 12860812, at *4 (S.D. Fla. Sept. 16, 2014) (employer’s continued employment of an employee is

 adequate consideration to support arbitration agreements); McKinnon v. Palm Chevrolet of

 Gainesville, LLC, No. 09-174, 2009 WL 10674171, at *2–3 (N.D. Fla. Nov. 6, 2009)

 (defendant’s consideration of plaintiff’s employment application constituted valid consideration

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 for arbitration agreement); Tranchant v. Ritz Carlton Hotel Co., LLC, No. 10-0233, 2011 WL

 1230734, at *4 (M.D. Fla. March 31, 2011) (continuation of at will employment provided

 consideration for arbitration agreement under Florida law); Bhim v. Rent-A-Center, Inc., 655 F.

 Supp. 2d 1307, 1313 (S.D. Fla. 2009) (same).1

          Because Chase is also required to submit claims against the employees to arbitration,

 Taylor Decl., Exhibits 1-6, BAAs Section 2, this provided additional consideration rendering the

 agreement enforceable under Florida (and New Jersey) law. McKinnon, 2009 WL 10674171, at

 *2 (where agreement stated that “any dispute between me and the Company . . . will be resolved

 through mutually binding arbitration” this constituted sufficient consideration under Florida law

 to enforce agreement); Tranchant, 2011 WL 1230734, at *4; Ayure, 2014 WL 12860812, at *4;

 Bhim, 655 F. Supp. 2d at 1312-13.2



 1
   To the extent New Jersey law could apply to Gordon, the outcome is the same under New
 Jersey law. See, e.g., Allen v. Bloomingdale’s, Inc., 225 F. Supp. 3d 254, 260 (D.N.J. 2016)
 (valid consideration to enforce arbitration agreement was exchanged through the acceptance of
 and continued employment with the employer); Martindale v. Sandvik, Inc., 800 A.2d 872, 875–
 76 (N.J. 2002) (an employer’s consideration of an employee, extension of an offer, and the
 employee’s start of and continued employment constituted sufficient consideration for
 enforceable arbitration agreement).
 2
   See also Horowitz v. AT&T, Inc., No. 17-4827, 2019 WL 77331, at *9 (D.N.J. Jan. 2, 2019).
 (holding that the consideration requirement is met because “the agreement mutually obliges
 [both parties] to arbitrate all employment disputes and Plaintiff has continued his employment
 with [defendants].”); Jayasundera v. Macy’s Logistics & Operations, Dep’t of Human Res., No.
 14-0455, 2015 WL 4623508, at *4 (D.N.J. Aug. 3, 2015).
 In addition, although all the agreements (other than the agreement with Hudson) were signed
 electronically, under both Florida and New Jersey law, electronic signatures have the same legal
 force as a physical signature. See, e.g., Curbelo v. Autonation Benefits Co., No. 14-62736, 2015
 WL 667655, at *3 (S.D. Fla. Feb. 13, 2015) (holding that the arbitration agreement signed
 electronically was valid and enforceable); Cintron v. Monterey Fin. Servs., Inc., No. 17-11537,
 2018 WL 4908283, at *4 (D.N.J. Oct. 10, 2018) (finding that plaintiff’s e-signature was
 sufficient to form a valid and enforceable arbitration agreement). See Fed. R. Civ. P. 12(a)(1)(A)
 (requiring answer within 21 days after being served with summons unless otherwise extended or
 Rule 12(b) motion if filed).

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          Moreover, the fact that the arbitration agreement contained a collective action waiver for

 the FLSA claims does not mean the agreement was unconscionable or otherwise unenforceable.

 See, e.g., Epic Sys. Corp., 138 S. Ct. at 1632 (holding that arbitration agreements that waive the

 right to bring FLSA collective actions are enforceable); Walthour v. Chipio Windshield Repair,

 LLC, 745 F.3d 1326, 1336 (11th Cir. 2014) (affirming district court order compelling individual

 arbitration of FLSA claims and dismissing complaint, and explaining that agreement was not

 rendered unenforceable by class/collective action waiver because FLSA § 16(b) does not provide

 for a non-waivable, substantive right to bring a collective action). In fact, many courts –

 including this district – have enforced Chase Binding Arbitration Agreements. See, e.g., Newhall

 v. JP Morgan Chase, No. 10-2624, 2010 WL 8759340 (M.D. Fla. Dec. 22, 2010) (compelling

 arbitration of FLSA claims of Florida employee pursuant to Chase BAA after case was

 transferred from New Jersey to Florida); Ryan v. JPMorgan Chase & Co., 924 F. Supp. 2d 559

 (S.D.N.Y. 2013) (compelling arbitration of FLSA claims under Chase BAA); Henry v.

 J.P.Morgan Chase & Co., No. 15-3895, 2015 WL 13820811 (C.D. Cal. Nov. 3, 2015)

 (compelling arbitration of FLSA claim that had been brought as putative collective action under

 Chase BAA); Montero v. JPMorgan Chase & Co., No. 14-9053, 2016 WL 193392, *2-3 (N.D

 Ill. Jan. 15, 2016) (compelling arbitration of Plaintiff Rodriguez’s FLSA claim pursuant to Chase

 BAA); see also Ali v. J.P.Morgan Chase Bank, N.A., 647 F. App’x 783 (9th Cir. 2016)

 (remanding with instructions that district court compel arbitration pursuant to Chase BAA).

 Thus, Plaintiff Leitzke, as well as opt-ins Hudson, Maxwell, Massicotte, Rashedi and Gordon,

 entered into an enforceable agreement to arbitrate their claims against Chase.




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          B.       The Scope Of The Agreement Encompasses Plaintiff’s Claims.

          As noted previously, the Binding Arbitration Agreement signed by Plaintiff and the five

 opt-ins states that it covers all claims that “arise out of or relate to employment” with “JPMorgan

 Chase & Co. or any of its direct or indirect subsidiaries” including claims under the “Fair Labor

 Standards Act of 1938.” Taylor Decl.¶¶ 4-9, Exhibits 1-6, BAA Sections 1-2. The scope of the

 arbitration agreement therefore clearly encompasses all the claims asserted in this litigation,

 which are solely FLSA claims. See Complaint at ¶¶ 54-63 (asserting FLSA collective action).

 Accordingly, it is appropriate to compel arbitration. See, e.g., Walthour, 745 F.3d at 1334

 (“After examining the FLSA’s text, legislative history, purposes, and . . . Supreme Court

 decisions, we discern no ‘contrary congressional command’ that precludes the enforcement of

 plaintiffs’ Arbitration Agreements . . . .”); Carter v. Doll House II, Inc., 608 F. App’x 903, 904

 (11th Cir. 2015) (affirming the enforcement of an agreement to arbitrate FLSA claims in putative

 collective action).

          C.       Chase Has Not Waived Its Ability To Enforce The Arbitration Agreements.

          To the extent Plaintiff attempts to argue that Chase waived its ability to enforce the

 arbitration agreement, such argument would clearly be baseless. Plaintiff originally filed her

 case in Ohio. ECF 1. Plaintiff (and all opt-ins) currently work for Chase in Florida, and the

 BAAs at issue require that arbitration take place in the state where the individual is currently

 employed by Chase. Taylor Decl. ¶¶ 4-9, Exhibits 1-6, BAA, Section 6. Accordingly, the case

 had to be transferred to Florida in order to compel arbitration. See 9 U.S.C. § 4 (stating that a

 party to a written agreement for arbitration may petition for “an order directing that . . .

 arbitration proceed” but arbitration must take place “within the district in which the petition for

 an order directing such arbitration is filed”); Inland Bulk Transfer Co. v. Cummins Engine Co.,

 332 F.3d 1007, 1018 (6th Cir. 2003) (“where the parties have agreed to arbitrate in a particular

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 forum, only a district court in that forum has jurisdiction to compel arbitration pursuant to

 Section 4”) (quotations and citation omitted); Mgmt. Recruiters Int’l, Inc. v. Bloor, 129 F.3d 851,

 854 (6th Cir. 1997) (“under Section 4 of the FAA, only a district court in the state where the

 parties agreed to arbitrate has jurisdiction to order arbitration”).

          Chase immediately filed a motion to transfer so that it could compel in the jurisdiction

 where the arbitration was to take place. See ECF 16 at pp. 4-5 (explaining that Plaintiff and five

 of the opt-ins signed binding arbitration agreements which required arbitration in Florida).

 Although Chase filed a concurrent answer as required,3 it asserted the existence of Plaintiff’s

 binding arbitration agreement as an affirmative defense. See ECF 17, Defense ¶ 4 (“Plaintiff is

 subject to a binding arbitration agreement with a class and collective action waiver . . . .”).

          Once the case was transferred to Florida, this Court issued a scheduling order requiring

 the parties to exchange limited documents and engage in mandatory mediation. ECF 30. During

 mediation and immediately after mediation failed, Chase reiterated its intent to arbitrate. See

 ECF 64 (case management report indicating deadlines for motion to compel arbitration). Thus,

 Chase has consistently pursued its right to arbitrate, and has not waived it. See, e.g., Sherrard v.

 Macy’s Sys. & Tech. Inc., 724 F. App’x 736, 740 (11th Cir. 2018) (holding that defendant had

 not waived right to arbitrate by substantially participating in litigation because filing a motion to

 set aside the entry of default was not “inconsistent with an intent to arbitrate.”); Coca–Cola

 Bottling Co. of New York, Inc. v. Soft Drink & Brewery Workers Union Local 812, 242 F.3d 52,

 57–58 (2d Cir. 2001) (“neither filing an answer nor waiting four months to seek arbitration was

 sufficient to constitute a waiver”); Diggett v. Swisher Int’l, Inc., No. 14-0242, 2014 WL



 3
  See Fed. R. Civ. P. 12(a)(1)(A) (requiring answer within 21 days after being served with
 summons unless otherwise extended or Rule 12(b) motion is filed).

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 12617591, at *3-5 (M.D. Fla. Aug. 28, 2014) (holding that where defendant informed plaintiff of

 possible arbitration agreement prior to the litigation but submitted an answer that did not raise

 arbitration as an affirmative defense, submitted a case management report that did not mention

 arbitration, and initiated discovery including serving interrogatories and requests for production,

 under totality of circumstances defendant had not waived arbitration); PNC Bank, N.A. v.

 Presbyterian Ret. Corp., No. 14-0461, 2015 WL 1931395, at *9 n.14 (S.D. Ala. Apr. 28, 2015)

 (“PNC Bank merely participated in the parties’ planning meeting, contributed to the Rule 26(f)

 report, filed a brief in opposition to a motion for preliminary injunction, and agreed to a consent

 resolution of said motion . . . . Such activities are insufficient to constitute substantial invocation

 of litigation . . . .” so as to result in waiver).

          D.       This Court Should Dismiss This Action, Or In The Alternative Issue A Stay
                   While Arbitration Is Pending.

          Because Dusty Leitzke is the only named Plaintiff in this litigation, and she signed a

 binding arbitration agreement with a collective action waiver, the proper action is to dismiss this

 action. See, e.g., Walthour, 745 F.3d at 1329 n.2 (affirming order compelling arbitration and

 dismissing action where two named plaintiffs had arbitration agreements with collective action

 waivers, and despite the fact that after the motion to compel arbitration was filed, seven former

 employees filed opt-in consent forms and sought to join as plaintiffs, noting “the district court

 did not address whether these seven former employees could be joined as plaintiffs under §

 16(b)'s collective action provision, in light of its ruling on the Chipio defendants' motions.”);

 Otis v. Arise Virtual Sols., Inc., No. 12-62143, 2013 WL 12106056, at *4 n.4 (S.D. Fla. Aug. 5,

 2013) (granting motion to compel arbitration and stay proceedings, and noting that it did not

 matter that “[o]pt-in plaintiffs Amanda Barton and Heather Steele also deny having any memory

 of entering into arbitration agreements with Arise. Plaintiffs’ arguments regarding these opt-in


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 plaintiffs are irrelevant because the opt-in plaintiffs are not named parties in this suit”); Komitor

 v. MAG Motors III, Inc., No. 17-61215, 2018 WL 1702193, at *5 (S.D. Fla. Feb. 28, 2018)

 (granting motion to compel arbitration as to named plaintiff and either dismiss without prejudice

 or stay case, despite the presence of one opt-in), report & recommendation adopted, 2018 WL

 1702194 (S.D. Fla. Mar. 27, 2018) (staying case).

          Where the Court compels arbitration of all of the claims involved, there is no benefit to a

 stay, as opposed to dismissal. See, e.g., Perera, 914 F. Supp. 2d at 1290 (“The weight of

 authority clearly supports dismissal of the case when all of the issues raised in the district court

 must be submitted to arbitration.”) (quotations and citations omitted); Spinelli, 2019 WL

 3425080, at *6 (compelling arbitration and dismissing case where the sole claim arises under the

 FLSA and is specifically encompassed by the Arbitration Agreement). Accordingly, because all

 of Plaintiff Leitzke’s FLSA claims are subject to binding arbitration, Defendant believes that

 dismissal of this action is appropriate. However, should the Court disagree, Defendant requests

 that the Court stay the claims of Plaintiff (and the five opt-ins with arbitration agreements)

 during the pendency of the arbitrations pursuant to the FAA. See 9 U.S.C. § 3 (stating that if the

 court is satisfied the issues are referable to arbitration under an arbitration agreement, the court

 “shall on application of one of the parties stay the trial of the action until such arbitration has

 been had in accordance with the terms of the agreement”).

 V.       CONCLUSION

          Because Plaintiff’s FLSA claim is covered by a valid and binding arbitration agreement,

 Defendant respectfully requests that this Court dismiss this action, or in the alternative stay, and

 compel Plaintiff, as well as opt-ins Gordon, Hudson, Maxwell, Rashedi and Massicotte, to

 individually arbitrate their FLSA claim under the terms of the Binding Arbitration Agreements.



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                           LOCAL RULE 3.01(G) CERTIFICATION

          I hereby certify that my colleague Sari Alamuddin conferred in good faith on October 21

 and 30, 2019 with Plaintiff’s counsel Rowdy Meeks to discuss the motion to compel arbitration.

 Plaintiff’s counsel indicated that he was not willing to pursue arbitration on behalf of his clients

 and did not consent to the relief sought in the attached motion.


                                                s/ Mark E. Zelek
                                                Mark E. Zelek




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                                CERTIFICATE OF SERVICE

         I hereby certify that on this 4th day of November, 2019, I electronically filed the
 foregoing with the Clerk of the Court by using the CM/ECF system, which will send a notice of
 electronic filing to the following:

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